                    EXHIBIT C




Case 2:21-ap-00336-EPB Doc 199-3 Filed 09/15/23 Entered 09/15/23 12:34:19
             Desc Exhibit Email dated May 17 2023 Page 1 of 16
     From:                                                                                                                                                                                                                                                                                                         Rebecca Eaton <reaton@kmd.law>
     Sent:                                                                                                                                                                                                                                                                                                         Wednesday, May 17, 2023 4:29 PM
     To:                                                                                                                                                                                                                                                                                                           Nick Griebel
     Cc:                                                                                                                                                                                                                                                                                                           Justina Diego; Michael Campbell; Matthew Layfield
     Subject:                                                                                                                                                                                                                                                                                                      Re: James Cross v. Valliance Bank -
     Attachments:                                                                                                                                                                                                                                                                                                  63.NLO re UST App for R2004 Exam of Skyler Cook.pdf

     Follow Up Flag:                                                                                                                                                                                                                                                                                               Follow up
     Flag Status:                                                                                                                                                                                                                                                                                                  Flagged


               EXTERNAL EMAIL                                                                                                                                                                                                                                                               reaton@kmd.law

     Nick,Please see Skyler’s respo nses t o your questions, below . I have the zip file refere nce d bel ow (containi ng thou sands of do cuments ). As you can imagi ne, it’s a lot of fina ncial in for mation, including pers onal fi nancial informatio n. Do yo u have a standar d agreed con fidentiality




     Nick,

     Please see Skyler’s responses to your questions, below. I have the zip file referenced below (containing thousands of
     documents). As you can imagine, it’s a lot of financial information, including personal financial information.

     Do you have a standard agreed confidentiality and protective order that you would be willing to enter with regard to this
     production? Skyler doesn’t have a problem sharing these documents with you, but I want to make sure that we have an
     agreement that the documents will only be used for purposes of this proceeding and that you will agree to redact any
     personal sensitive information before using a document as an exhibit or otherwise disclosing a document to a third party
     during the course of the litigation.

     I am happy to provide a standard order that I have used in the past if that would be easier.

     Please let me know if you have any questions about the responses below.

     Responses


1.     Did the Trustee give Skyler a list of document requests? If so, may we please have a copy? Generally, what process did
     the Trustee take in gathering documents from Skyler?



                                                                                               ·                                                  The Trustee requested documents from Skyler as part of the Rule 2004 Exam (see attached requests).



2.                    What documents were sent to the Trustee electronically? Can Skyler upload these to a ShareFile for us?



                                                                                               ·                                               Skyler has a zip file containing the documents that were produced. The zip file was transmitted to the Trustee via
                                                                                                                                               email.




                                                                                                                                                                                                                                                                                                                                           1
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             ·    Skyler has given me permission to share the zip file, but given the nature of the documents, I would like for us to
                  enter into an agreed confidentiality and protective order, as indicated above, prior to production.



3.     Did the Trustee make any copies or take any forensic images of Skyler’s devices, including computers, cell phones, iPads,
     hard drives, thumb drives, etc.?



             ·    No.



4.     Did Skyler give the Trustee complete access to his email accounts, or did Skyler perform searches for emails and provide
     those results to the Trustee? If the latter, what search terms and parameters were used by Skyler to search for emails?



             ·    The Trustee did not ask for complete access. Skyler searched his emails using terms from the Rule 2004 document
                  request. He does not recall the exact terms used, but believes that the searches were very thorough—as indicated by
                  the volume of documents produced (I believe over 4,300 files if my computer is counting correctly).



5.     Were all of Skyler’s emails with his partners, co-owners, or investors provided to the Trustee? Can Skyler upload all
     of his emails to a ShareFile for us?



             ·    If the emails were identified in Skyler’s searches, yes.



6.     Did Skyler provide his text messages to the Trustee? If so, what text messages were provided to the Trustee, and did
     these include all of his text messages with partners, co-owners, and investors? Can Skyler upload these to a ShareFile for
     us?



             ·    No. Skyler does not have any text messages. He no longer has the phone that was used during that period.



7.     Does Skyler still have his text messages (and emails) with his partners, co-owners, and investors, or were these lost,
     deleted, etc.? Can Skyler upload all of his text messages to a ShareFile for us?



             ·    No, see above.



8.    What types or categories of hard-copy documents were in the box of documents that was turned over to the Trustee? Did
     Skyler or his attorneys keep copies or scans of these documents? If so, can Skyler upload these to a ShareFile for us?
                                                                      2
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            ·     The Trustee has the box of physical documents.



            ·     Skyler believes that most of the contents were also included in the electronic documents that he produced (the zip
                  file).



            ·     The box of documents primarily supported an Excel spreadsheet (which was also produced to the Trustee and that
                  we will include with the zip file).


Rebecca K. Eaton, J.D.
Shareholder, Senior Attorney
Healthcare, Business, and Commercial Litigation

Kearney, McWilliams & Davis, PLLC
Dallas-Fort Worth: 1235 S. Main #280, Grapevine, TX 76051
Houston: 55 Waugh #150, Houston, TX 77007
Denver: 1625 Broadway #2950, Denver, CO 80202
San Antonio: 40 NE Loop 410 #431, San Antonio, TX 78216
Wyoming: 110 S. Gould, 2nd Floor, Sheridan, WY 82801
Office/Fax: (817) 764-3459 • Cell: (469) 831-8767

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            On May 11, 2023, at 6:07 PM, Nick Griebel <NGriebel@Polsinelli.com> wrote:

            Rebecca,

            Thank you for taking the time to speak with us today. As promised, the following is our
            punch-list of questions:

                       Did the Trustee give Skyler a list of document requests? If so, may we please
                        have a copy? Generally, what process did the Trustee take in gathering
                        documents from Skyler?

                       What documents were sent to the Trustee electronically? Can Skyler upload
                        these to a ShareFile for us?

                       Did the Trustee make any copies or take any forensic images of Skyler’s devices,
                        including computers, cell phones, iPads, hard drives, thumb drives, etc?

                       Did Skyler give the Trustee complete access to his email accounts, or did Skyler
                        perform searches for emails and provide those results to the Trustee? If the
                        latter, what search terms and parameters were used by Skyler to search for
                        emails?

                                                                                           3
                Case 2:21-ap-00336-EPB Doc 199-3 Filed 09/15/23 Entered 09/15/23 12:34:19
                             Desc Exhibit Email dated May 17 2023 Page 4 of 16
          Were all of Skyler’s emails with his partners, co-owners, or investors provided to
           the Trustee? Can Skyler upload all of his emails to a ShareFile for us?

          Did Skyler provide his text messages to the Trustee? If so, what text messages
           were provided to the Trustee, and did these include all of his text messages with
           partners, co-owners, and investors? Can Skyler upload these to a ShareFile for
           us?

          Does Skyler still have his text messages (and emails) with his partners, co-
           owners, and investors, or were these lost, deleted, etc? Can Skyler upload all of
           his text messages to a ShareFile for us?

          What types or categories of hard-copy documents were in the box of documents
           that was turned over to the Trustee? Did Skyler or his attorneys keep copies or
           scans of these documents? If so, can Skyler upload these to a ShareFile for us?

Thank you,

 Nick Griebel
 Associate

 ngriebel@polsinelli.com
 314.622.6613
 100 S. Fourth Street, Suite 1000
 St. Louis, MO 63102




 Polsinelli PC, Polsinelli LLP in California

 polsinelli.com


                   Visit The Devil's Dictionary website for an accurate and humorous description of sophisticated bankruptcy
                   jargon.




This electronic mail message contains CONFIDENTIAL information which is (a) ATTORNEY - CLIENT
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   1 ILENE J. LASHINSKY (#003073)
     United States Trustee
   2 District of Arizona

   3
     LARRY L. WATSON (CA Bar #193531)
   4 230 North First Avenue, Suite 204
     Phoenix, Arizona 85003-1706
   5 E-Mail: Larry.Watson@usdoj.gov
     Tel: 602-682-2600
   6

   7                           UNITED STATES BANKRUPTCY COURT
   8                              FOR THE DISTRICT OF ARIZONA
   9    In re:                                        Chapter 11
  10    SKYLER AARON COOK                             Case No. 2:20-bk-01730-EPB
  11                          Debtors.
                                                       NOTICE OF LODGING:
  12
                                                       ORDER GRANTING U.S. TRUSTEE’S
  13                                                   APPLICATION FOR FEDERAL RULE
                                                       OF BANKRUPTCY PROCEDURE
  14                                                   (“FRBP ”) 2004 PRODUCTION OF
                                                       DOCUMENTS AND ORAL
  15                                                   EXAMINATION OF SKYLER AARON
                                                       COOK (REMOTELY)
  16

  17             NOTICE IS HEREBY PROVIDED that the United States Trustee of the District of
  18 Arizona (the “U.S. Trustee”) has lodged the attached proposed form of Order Granting U.S.

  19 Trustee’s Application for Federal Rule of Bankruptcy Procedure (“FRBP”) 2004

  20 Production of Documents and Oral Examination of Skyler Aaron Cook (Remotely).

  21             RESPECTFULLY SUBMITTED this 15th day of May, 2020.
  22
                                                        ILENE J. LASHINSKY
  23
                                                        United States Trustee
  24                                                    District of Arizona

  25                                                    /s/ Larry L. Watson (CA #193531)
                                                        LARRY L. WATSON
  26                                                    Trial Attorney
  27
     COPY of the foregoing sent via electronic mail
  28 this 15th day of May, 2020, to:

 Case
Case   2:21-ap-00336-EPB Doc
     2:20-bk-01730-EPB       Doc
                               63199-3   Filed 09/15/23
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                                  dated May 17Page2023
                                                    1 of 2Page 6 of 16
   1 James Kahn, Esq.
     Krystal Ahart, Esq.
   2 Bankruptcy Legal Center
     Kahn & Ahart, PLLC
   3 301 E. Bethany Home Rd., #C-195
     Phoenix, AZ 85012-1266
   4 Email: james.jahn@azbk.biz
     Email: krystal.ahart@azbk.biz
   5 Counsel for Debtor

   6 James E. Cross
     Cross Law Firm, PLC
   7 1850 N. Central Ave., Suite 1150
     Phoenix, AZ 85004
   8 Email: jcross@crosslawaz.com
     Trustee
   9

  10
       /s/ Larry L. Watson (CA #193531)
  11

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    6
                                  UNITED STATES BANKRUPTCY COURT
    7
                                     FOR THE DISTRICT OF ARIZONA
    8
         In re:                                             Chapter 11
    9
         SKYLER AARON COOK                                  Case No. 2:20-bk-01730-EPB
   10
                                 Debtors.
   11                                                        ORDER GRANTING U.S. TRUSTEE’S
                                                             APPLICATION FOR PRODUCTION OF
   12                                                        DOCUMENTS AND ORAL
                                                             EXAMINATION OF SKYLER AARON
   13                                                        COOK PURSUANT TO F.R.B.P. 2004
                                                             (REMOTELY)
   14

   15             This Court having received and considered the United States Trustee of the District of

   16 Arizona (the “U.S. Trustee”) Application for Federal Rule of Bankruptcy Procedure

   17 (“FRBP”) 2004 Production of Documents and Examination of Skyler Aaron Cook (the

   18 “Application”) and good cause appearing:

   19             IT IS HEREBY ORDERED granting the Application and directing Skyler Aaron Cook
   20 to: (1) produce the documents identified on Exhibit "A" on a date, time, and in a form, agreeable

   21
        to the parties or, if upon notice, after not less than 21 days’ notice; and (2) appear for an oral
   22
        examination under oath by remote means at a date and time agreeable to the parties or, if upon notice,
   23
        after not less than 28 days’ notice. The examination may be recorded by audio, video, or by a court
   24
        reporter and may be continued, as is necessary, by the U.S. Trustee but not longer than one day of
   25

   26 seven hours.

   27
                                            DATED AND SIGNED ABOVE
   28

  Case
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                                                   EXHIBIT A
    1
        I.        INSTRUCTIONS
    2
                  A.    This shall be deemed to be a request for the production ("Request") by you of all
    3
        documents enumerated below, whether prepared by or for you or by any other party or any other
    4
        person, that are in your possession, custody, control, or in the possession, custody or control of
    5
        your attorneys, accountants, consultants, receivers, employees, agents or anyone acting on your
    6
        behalf.
    7
                  B.    In responding to this Request, you are to state:
    8
                        1.      With respect to each item, category or request, that production will be
    9
        made as requested, unless the Request is objected to, in which event the reasons for the objection
   10
        shall be stated specifically;
   11
                        2.      If objection is made to part of an item, category or request, that part shall
   12
        be specified and production shall be made for the remaining parts; and
   13
                        3.      As to each document you are withholding from production on the basis of
   14
        privilege, you are to provide the following information to identify the document for a subpoena
   15
        or motion to compel its production:
   16
                                a.      Title or description;
   17
                                b.      Date;
   18
                                c.      Author;
   19
                                d.      Recipient(s);
   20
                                e.      Number of pages;
   21
                                f.      Subject matter;
   22
                                g.      Method of transmission; and
   23
                                h.      The specific grounds for withholding the document.
   24
                  C.    You are required to organize and label the documents you produce to correspond
   25
        with the categories set forth in this Request; if you are currently in business, you may produce
   26
        documents as they are kept in the usual course of your business.
   27

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    1         D.        If any document or information requested by this Request was formerly in your
    2 actual or constructive care, custody, possession or control or that of any of your employees,

    3 agents or representatives and has been lost, discarded or destroyed, you shall submit a written

    4 statement that:

    5                   1.     Describes in detail the nature of the information or document and its
    6 contents;

    7                   2.     Identifies the person who prepared the document and any and all persons
    8 to whom the document was sent or disclosed;

    9                   3.     Identifies any and all persons who have seen, had possession or access to
   10 or custody of the document;

   11                   4.     Specifies the dates on which the document was prepared, transmitted and
   12 received;

   13                   5.     Specifies the date on which the document was lost or destroyed and, if
   14 destroyed, the conditions of and reasons for such destruction and the identities of the persons

   15 requesting and performing the destruction; and

   16                   6.     Identifies all persons with knowledge of the contents or any portion of the
   17 contents of the document.

   18         E.        If you respond to this Request with a response that is complete when made, you
   19 are nevertheless under a duty to supplement the response to include documents or information

   20 thereafter acquired.

   21         F.        If you obtain information which shows (and failure to amend your response in
   22 light of such information is in substance a knowing concealment) your earlier response was

   23 incorrect when made, or your earlier response, although correct when made, is no longer true,

   24 you must supplement your response.

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        II.       DEFINITIONS
    1
                  As used herein and unless the context requires otherwise, the terms used in the foregoing
    2
        Instructions, in these Definitions, and in the following Request for documents shall have the
    3
        following meanings:
    4
                        1.      "Affiliate" shall have the definition set forth in Bankruptcy Code §101(2),
    5
        and shall include without limitation the following companies and/or persons:
    6
              •   Buddy’s Renovation and Handyman Services, LLC;
    7
              •   State 48 Acquisitions;
    8
              •   CMC Industries, LLC;
    9
              •   CKE Realty Fund, LP;
   10
              •   CKE Fund Management, LLC;
   11
              •   CKE Holdings, LLC;
   12
              •   CKE Home Management, LLC;
   13
              •   Colton Stormans; and
   14
              •   Chelsea Mei Cook.
   15
                        2.      "And" or "or" shall be construed either disjunctively or conjunctively or
   16
        both, as necessary to bring within the scope of this discovery request all responses which might
   17
        otherwise be construed to be outside the scope.
   18
                        3.      "Bankruptcy Case" means In re Skyler Aaron Cook, Case No. 2:20-bk-
   19
        01730-EPB currently pending in the United States Bankruptcy Court for the District of Arizona.
   20
                        4.      “Correspondence” shall mean any and all communications in any form
   21
        including, but not limited to, electronic mail, memorandum, letters and faxes, and shall include
   22
        any and all communications by and between You, Your Affiliates, principals, members, assigns,
   23
        agents, and any third party.
   24
                        5.      "Debtor"     means    Skyler    Aaron    Cook,     the   debtor   in   the
   25
        Bankruptcy Case, and any person, entity, or agent acting on its behalf, including, but not limited
   26
        to, any representatives, agents, attorneys, accountants, advisors, and consultants.
   27
                        6.      "Document" refers to and includes the originals (or copies if the originals
   28

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    1 are unavailable to you), and all non-identical copies, whether different from the originals by

    2 reason of any notation made on such copies or otherwise, of every writing of every type of

    3 description, and every other thing constituting any medium by which, through which, or on which

    4 any type of communication or knowledge has been transmitted, recorded, or preserved, whether

    5 printed, handwritten, recorded or graphic matter, computer records, photographic matter, or

    6 sound reproductions, wherever produced or recorded, whether claimed to be exempt from

    7 production pursuant to a properly asserted privilege or for any other reason, with this definition

    8 including, for illustrative purposes and without limitation, all of the following:

    9                         a.      Correspondence, memoranda, notes, diaries, statistics, letters,
   10 telegrams, minutes, contracts, reports, studies, check statements, check stubs, bank statements,

   11 memoranda, pamphlets, reports, surveys, studies, analyses, tabulations, graphs, logs, statements,

   12 receipts, returns, summaries, pamphlets, books, inter-office or intraoffice communications,

   13 telephone message slips, offers, notations of conversations, bulletins, drawings, plans, computer

   14 printouts, teletypes, telefaxes, invoices, worksheets, ledger books, books of account, reports

   15 and/or summaries of investigations, opinions and/or reports of consultants, appraisals and/or

   16 other valuation estimates of any kind, and all drafts, alterations, modifications, changes and

   17 amendments of any of the foregoing;

   18                         b.      All graphic or aural records and representations of any kind,
   19 including without limitation photographs, charts, graphs, microfiche, microfilm, videotape

   20 recordings, motion pictures and electronic, mechanical or electrical records, cassettes, disks, or

   21 recordings of any kind; and

   22                         c.      Electronic mail communications, computer disks and diskettes,
   23 computer input or output, computer hard drive files, computer back up tapes, zip drive files,

   24 tapes, and any other means of computerized recording produced in a form that is reasonably

   25 usable as provided in Federal Rule of Civil Procedure 34.

   26                 7.     "Insider" shall have the definition set forth in Bankruptcy Code §101(31).
   27                 8.     "Person" means any natural person, corporation, partnership, association,
   28

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    1 trust, joint venture, sole proprietorship, firm or other business enterprise, governmental entity, or

    2 legal entity, and means both the singular and plural.

    3                 9.      "Petition Date" means February 19, 2020.
    4                 10.     "Related to" or "relating to" means mentioning, discussing, including,
    5 summarizing, describing, reflecting, containing, referring to, relating to, depicting, arising from,

    6 in connection with, embodying, evidencing, constituting, concerning, reporting, purporting or

    7 involving an act, occurrence, event, transaction, fact, thing, or course of dealing.

    8                 11.     "You" or "Your" means the Debtor, including any and all managers and

    9 members of the Debtor, and any other person, entity, or agent acting on the Debtor’s behalf,

   10 including, but not limited to, any attorneys, accountants, advisors, and consultants, Affiliates,

   11 and Insiders.

   12 III.     DOCUMENTS REQUESTED
   13          You are requested to produce, in accordance with the foregoing Instructions, the

   14 following Documents:

   15                  1.    Copies of all e-mails and text messages on whatever electronic device

   16 Debtor has utilized for communication from January 2018 to present regarding Buddy’s

   17 Renovation and Handyman Services, LLC and its Affiliates regarding discussions with vendors,

   18 investors, unsecured creditors, bank lenders, and bank officers.

   19                  2.    Copies of all documents and agreements, together with e-mails and text

   20 messages on whatever electronic device Debtor has utilized for communication from January

   21 2018 to present regarding Buddy’s Renovation and Handyman Services, LLC and its Affiliates

   22 regarding ADP (as listed as an unsecured creditor at paragraph 4.1 in the schedule F filed on

   23 March 4, 2020) and Paycom Payroll, LLC.

   24                  3.    Copies of 2016 and 2017 federal and state tax returns.

   25                  4.    Bank statements, including copies of all deposit slips, deposited checks,

   26 cancelled checks, and all wire transfer documentation, for all bank accounts used by Buddy’s

   27 Renovation and Handyman Services, LLC or any of its Affiliates from January 1, 2017 to present.

   28

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    1                 5.    Bank statements including copies of all deposit slips, deposited checks,
    2 cancelled checks, and all wire transfer documentation, for all bank accounts used by Debtor’s

    3 spouse, Chelsea Mei Cook, from January 1, 2017 to present.

    4                6.     Bank statements including copies of all deposit slips, deposited checks,
    5 cancelled checks, and all wire transfer documentation, for all bank accounts controlled by Debtor

    6 in the name of Colton K. Stormans from January 1, 2017 to present.

    7                 7.    All correspondence, electronic or otherwise, between Debtor, Buddy’s
    8 Renovation and Handyman Services, LLC, or any Affiliate and their accountants from January

    9 1, 2017 to present.

   10                 8.    All Bank statements including copies of all deposit slips, deposited checks,
   11 cancelled checks, and all wire transfer documentation, for CMI Industries from January 1, 2017

   12 to present.

   13                9.     Identify the current location of and any contact information for Colton K.
   14 Stormans.

   15                 10.   Copies of any and all Cashiers Checks and/or proof of purchase of any
   16 Cashiers Checks purchased with funds held in any bank accounts used by Buddy’s Renovation

   17 and Handyman Services, LLC or any of its Affiliates from January 1, 2017 to present.

   18                 11.   Describe your relationship with Cavadian Properties, LLC, and provide
   19 copies of all written agreements together with, e-mails and text messages on whatever electronic

   20 device Debtor has utilized for communication from January 2018 to present regarding Cavadian

   21 Properties, LLC.

   22                 12.   Describe the business you have performed, including any vendors, clients,
   23 and/or customers involved, in using the Square® application for payment processing. Provide

   24 any and all related information to necessary to access and review information associated with a

   25 Square account that you have used from January 1, 2017 to present.

   26                13.    Copies of all Intuit Quickbooks Online or Desktop records prepared and/or
   27 stored for Debtor and any of its Affiliates from January 1, 2017 to present. Provide any and all

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    1 related information necessary to access and review information associated with an Intuit

    2 Quickbooks Online account that you have used, or caused to be used, from January 1, 2017 to

    3 present.

    4                 14.    Copies of all retainer agreements with professionals that you have retained,
    5 or caused to be retained on behalf of any Affiliate, since January 1, 2017 to present. Provide

    6 copies of all retainer deposits provided pursuant to these retainer agreements and copies of all

    7 billing statements related to the services provided (as properly redacted for privilege purposes).

    8                 15.    Provide a list of all of Chelsea Mei Cook’s creditors existing as of February
    9 19, 2020, and a statement as to whether such creditors have received notice of this bankruptcy

   10 proceeding.

   11                 16.    Provide a list of all existing Buddy’s Renovation and Handyman Services,
   12 LLC remodeling contracts remaining to be fulfilled as of September 1, 2019. Provide an

   13 estimated stage of completion for each unfulfilled contract. Provide copies of all such existing

   14 uncompleted contracts.

   15                 17.    Provide a list and copies of all sales agreements with New Western
   16 Acquisitions.

   17                 18.    Provide explanation for September 4, 2019, $10,000.00 wire transfer from
   18 Buddy’s Renovation and Handyman Services, LLC bank account ending 8489 to Avocado

   19 Homes LLC.

   20                 19.    Provide explanation for August 22, 2019, $31,818.89 wire transfer from
   21 Buddy’s Renovation and Handyman Services, LLC bank account ending 8489 to Altus Gts Inc

   22 at Webster Bank.

   23                 20.    Provide explanation for September 4, 2019, $95,456.65 wire transfer from
   24 Buddy’s Renovation and Handyman Services, LLC bank account ending 8489 to Altus Gts Inc

   25 at Webster Bank.

   26                 21.    Provide explanation for two wire transfers received from Adam Esposito
   27 in July 2019 for a total of $47,500.

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    1                22.    Provide explanation for, and related bank account information pertaining
    2 to, wire transfers to Chelsea Mei Cook on November 18, 2019, to an undisclosed Bank of

    3 America Account.

    4                23.    Copies of all loan applications, financial statements, loan agreements and
    5 settlement statements associated with the purchase of the single family residence located at 1335

    6 Hidden Glen, Southlake, TX 76092 by Chelsea Mei Cook and Colton K. Stormans.

    7                24.    Copies of all sales agreements and settlement statements related to the sale
    8 of the single family residence located at 1335 Hidden Glen, Southlake, TX 76092 in November

    9 2019.

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